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                    8 LOST INTERNATIONAL, LLC, a California
                      limited liability company
                    9
                 10                                     UNITED STATES DISTRICT COURT
                 11                                    CENTRAL DISTRICT OF CALIFORNIA
                 12
                 13 LOST INTERNATIONAL, LLC, a                           )   Case No.
                    California Limited Liability Company,                )
                 14                                                      )   COMPLAINT FOR:
                                 Plaintiff,                              )
                 15                                                      )   1. TRADEMARK
                           v.                                            )      INFRINGEMENT—15 U.S.C §
                 16                                                      )      1114
                    STEFANI JOANNE ANGELINA                              )   2. COMMON LAW TRADEMARK
                 17 GERMANOTTA aka LADY GAGA, an                         )      INFRINGEMENT
                    individual; and DOES 1 through 100,                  )   3. FALSE DESIGNATION OF
                 18 inclusive,                                           )      ORIGIN - 15 U.S.C § 1125(a)
                                                                         )   4. FALSE ADVERTISING - 15
                 19                           Defendant.                 )       U.S.C § 1125(a)
                                                                         )   5. FALSE ADVERTISING UNDER
                 20                                                              CAL. BUS. PROF. CODE §
                                                                                 17500
                 21                                                          6. TRADEMARK DILUTION - 15
                                                                                 U.S.C § 1125(c)
                 22                                                          7. TRADEMARK DILUTION -
                                                                                 CAL. BUS. PROF. CODE §
                 23                                                             14247
                                                                             8. UNFAIR BUSINESS
                 24                                                              PRACTICES - CAL. BUS.
                                                                                 PROF. CODE § 17200
                 25                                                          9. COMMON LAW UNFAIR
                                                                                COMPETITION
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                    1               Plaintiff LOST INTERNATIONAL, LLC (“Lost”), in support of its Complaint
                    2 against Defendants STEFANI JOANNE ANGELINA GERMANOTTA aka LADY
                    3 GAGA (“Lady Gaga”) and DOES 1-100, hereby alleges as follows:
                    4                                             INTRODUCTION
                    5               1.        This lawsuit arises from the blatant disregard by Lady Gaga and DOES
                    6 1-100 of Lost’s rights to the mark “Mayhem.” Hereinafter, “the Mark” will refer to
                    7 the name “Mayhem.”
                    8               2.        Lost is a well-known surf and lifestyle brand established in 1985, that
                    9 has been using the Mark since 1988 in connection with surfboards, surf equipment,
                 10 clothing, accessories, and surf videos. Mayhem is the nickname of Matt Biolos, one
                 11 of the co-founders of Lost.
                 12                 3.        Lady Gaga is a musician, artist, songwriter, and actress. On March 7,
                 13 2025 Lady Gaga released a music album named “Mayhem.” Lady Gaga has also
                 14 announced a worldwide concert tour under the “Mayhem” name as well. At some
                 15 point prior to the release of the music album, Lady Gaga and DOES 1-100 began
                 16 selling t-shirts and other items of clothing with the Mark prominently displayed on it,
                 17 with a nearly identical design as used by Lost on its own products.
                 18                 4.        Defendants’ infringement of Lost’s Mark and other unlawful conduct as
                 19 detailed herein has caused, and continues to cause Lost grave and irreparable
                 20 damages. The Court must grant Lost all remedies that it seeks, including without
                 21 limitation, preliminary and permanent injunctive relief.
                 22                                                   PARTIES
                 23                 5.        Lost is a California Limited Liability Company with its principal place
                 24 of business in San Clemente, California.
                 25                 6.        Lost is informed and believes and thereon alleges that Lady Gaga is an
                 26 individual residing in and doing business in Los Angeles County, California.
                 27 / / /
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                    1               7.        Lost is informed and believes and thereon alleges that Lady Gaga
                    2 directly committed the infringement described herein or, alternatively, that she
                    3 directly controlled the infringing conduct described herein, intentionally induced it or
                    4 failed to prevent it, and, as such, that she is liable for the infringement.
                    5               8.        Lost currently does not know and is blamelessly unaware of the true
                    6 names and capacities of the defendants sued as Does 1 through 100, inclusive, and
                    7 therefore sues these defendants by fictitious names. Lost will amend this Complaint
                    8 to add the true names and capacities of these defendants when they are ascertained.
                    9 Each of the fictitious named Doe defendants is responsible in some manner for the
                 10 events and happenings alleged in this Complaint and for Lost’s damages.
                 11                                        JURISDICTION AND VENUE
                 12                 9.        This Court has subject matter jurisdiction over the claims pursuant to
                 13 the Lanham Act (15 U.S.C. §§ 1121, & 1125, et seq.) and pursuant to 28 U.S.C. §
                 14 1331 and 28 U.S.C. § 1338(a) & (b), and as the claims are so related that they form
                 15 part of the same case or controversy under Article III of the United States
                 16 Constitution and federal law, and arise out of common facts, transactions, or
                 17 occurrences, as provided under Fed. R. Civ. P. 13 and 20. The Court also has
                 18 supplemental jurisdiction over the related claims arising under California law,
                 19 pursuant to 28 U.S.C. § 1367 (b) and (c).
                 20                 10.       Venue is proper in this judicial district under 28 U.S.C. § 1391(b) and
                 21 (c) because a substantial part of the events giving rise to the claims occurred in this
                 22 district and Lady Gaga’s residence and principal place of business are located in this
                 23 district. Defendants have also engaged in continuous acts of trademark infringement
                 24 and unfair competition within the State of California, including within this district,
                 25 and have caused injury to Lost in this district as a result of such conduct.
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                 27 / / /
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                    1                     ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
                    2                                    AND FACTUAL BACKGROUND
                    3               11.       Lost is a well-known surf and lifestyle brand that was established in
                    4 1985 and sells a variety of surf apparel and accessories, including board shorts, tees,
                    5 woven shirts, headwear, and more. Lost began using the Mark in 1986, and in
                    6 January 1992 in interstate commerce. Since then, Lost has used the Mark in
                    7 connection with surfboards, surf equipment, clothing, accessories, and surf videos, in
                    8 over 30 countries worldwide.
                    9               12.       Lost is also the owner of the registered trademark “Mayhem.” The
                 10 Mark was registered in the United States on August 11, 2015, registration number
                 11 4790623. The Registered Mark is in international class no. 25: “Beanies; Caps;
                 12 Jackets; Pants; Sandals; Shorts; T-shirts; Tank tops.” A copy of the registration
                 13 certificate is attached hereto as Exhibit A. The Mark was also registered by Lost in
                 14 Japan on June 4, 1999, registration number 4279826.
                 15                 13.       Lost sells clothing and accessories with the Mark, often as a stylized
                 16 form as depicted below (the “Stylized Mark”):
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                    1               14.       Examples of Lost’s products featuring the Mark and the Stylized Mark
                    2 are below:
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                    1               15.       Lady Gaga has unilaterally, and without Lost’s permission or
                    2 knowledge, attempted to misappropriate the “Mayhem” name, trademark, and
                    3 stylized mark by releasing an album entitled “Mayhem,” launching a tour with that
                    4 same name, and selling clothing and accessories with that name.
                    5               16.       The following are examples of Lady Gaga’s clothing on the left, with
                    6 Lost’s on the right:
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                 17                 17.       The following are the logos isolated, with Lady Gaga’s on the left, with
                 18 Lost’s on the right:
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                 24                 18.       The Mark, Mayhem, is identical on both Lady Gaga’s merchandise and
                 25 Lost’s. The Mark in stylized form on Lady Gaga’s merchandise is substantially
                 26 similar if not nearly identical to the Stylized Mark on Lost’s merchandise.
                 27 / / /
                 28
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                    1               19.       Despite a notice from Lost’s counsel, Lady Gaga has failed and refused,
                    2 and continues to fail and refuse to cease her willful and blatant infringing on the
                    3 Registered Mark and thus she must immediately be enjoined from this behavior.
                    4               20.       Defendants’ acts and omissions are knowingly and willfully directed at
                    5 promoting a falsehood that by design is intended to implant a false understanding
                    6 among consumers, marketers, advertisers, and others that Defendants, rather than
                    7 Lost, created and own the Mark and the Stylized Mark. The foregoing is increasing
                    8 Lost’s damages by, among other things, diluting the Mark, diverting revenue from
                    9 Lost to Defendants, and depriving Lost of the ability to manage and control its brand.
                 10                                             CLAIMS FOR RELIEF
                 11                                          FIRST CAUSE OF ACTION
                 12                                            Trademark Infringement
                 13                            Under Section 32(1) of the Lanham Act, 15 U.S.C. 1114
                 14                 21.       Lost hereby incorporates by this reference each and every allegation set
                 15 forth in Paragraphs 1 through 20 of this Complaint, above as though fully set forth
                 16 herein.
                 17                 22.       Lost has sold beanies, caps, jackets, pants, sandals, shorts, t-shirts, tank
                 18 tops, which included the Mark, in commerce in the United States since 1988 and has
                 19 used the Mark continuously since that time.
                 20                 23.       Lost is the owner of the registered Mark, federal registration number
                 21 4790623, which was issued on August 11, 2015 on the principal register of the
                 22 United States Patent and Trademark Office.
                 23                 24.       The registration for the Mark covers “Beanies; Caps; Jackets; Pants;
                 24 Sandals; Shorts; T-shirts; Tank tops.”
                 25                 25.       Lost’s right to us this trademark has become incontestable under the
                 26 provisions of 15 U.S.C. § 1065, through the filing on August 3, 2021 of a Declaration
                 27 of Incontestability.
                 28
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                    1               26.       Lost has invested substantial time, effort, and financial resources
                    2 promoting the Mark in connection with the marketing and sale of its goods in
                    3 interstate commerce.
                    4               27.       Lost’s Mark has become, through widespread and favorable public
                    5 acceptance and recognition, an asset of substantial value as a symbol of Lost, its
                    6 quality products, and its goodwill. The consuming public recognizes Lost’s Mark
                    7 and associates it with Lost.
                    8               28.       Lost’s Mark is inherently distinctive as applied to Lost’s goods that bear
                    9 the mark.
                 10                 29.       Notwithstanding Lost’s established rights in the Mark and Stylized
                 11 Mark, upon information and belief, Lady Gaga adopted and used the Mark and a
                 12 stylized version of the Mark substantially similar to the Stylized Mark in interstate
                 13 commerce in connection with the sale and offering for sale of t-shirts, sweatshirts,
                 14 and other merchandise related to the promotion of her album and tour titled
                 15 “Mayhem.”
                 16                 30.       Lady Gaga has advertised her goods under the infringing trademark on
                 17 social media and the internet.
                 18                 31.       Without Lost’s consent, Lady Gaga used and continues to use the
                 19 infringing mark and logo in connection with the sale, offering for sale, distribution or
                 20 advertising of its goods.
                 21                 32.       Lady Gaga has engaged in its infringing activity despite having
                 22 constructive notice of Lost’s federal registration rights under 15 U.S.C. § 1072 and,
                 23 upon information and belief, despite having actual knowledge of Lost’s use of the
                 24 Mark and Stylized Mark.
                 25                 33.       Lady Gaga’s actions are likely to mislead the public into concluding that
                 26 her goods originate with or are authorized by Lost, which will damage both Lost and
                 27 the public. Lost has no control over the quality of goods sold by Lady Gaga and
                 28
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                    1 because of the source of confusion caused by Lady Gaga, Lost has lost control over
                    2 its valuable goodwill.
                    3               34.       Upon information and belief, Lady Gaga has advertised and offered its
                    4 goods for sale using her mark with the intention of misleading, deceiving, or
                    5 confusing consumers as to the origin of its goods and of trading on Lost’s reputation
                    6 and goodwill. Lady Gaga’s use of the Mark constitutes willful, deliberate, and
                    7 intentional trademark infringement.
                    8               35.       Lost has requested in writing that Lady Gaga cease and desist from its
                    9 infringing actions, but Lady Gaga has failed to comply with them.
                 10                 36.       Lady Gaga’s unauthorized use of the Mark and a logo substantially
                 11 similar to the Stylized Mark in interstate commerce constitutes trademark
                 12 infringement under 15 U.S.C. § 1114(1) and has caused and is likely to continue to
                 13 cause consumer confusion, mistake, or deception.
                 14                 37.       As a direct and proximate result of Lady Gaga’s trademark
                 15 infringement, Lost has suffered and will continue to suffer irreparable loss of
                 16 income, profits, and goodwill and Lady Gaga has unfairly acquired and will continue
                 17 to unfairly acquire income, profits, and goodwill.
                 18                 38.       Lady Gaga’s acts of infringement will cause further irreparable injury to
                 19 Lost if Lady Gaga is not restrained by this Court from further violation of Lost’s
                 20 rights. Lost has no adequate remedy at law.
                 21                 39.       Lady Gaga’s wrongful use of the Mark is knowing, deliberate, willful,
                 22 fraudulent, and without extenuating circumstances. Lost is therefore entitled to
                 23 recover its damages, defendants’ profits, and Lost’s attorneys’ fees and costs of this
                 24 action pursuant to 15 U.S.C. § 1117(a).
                 25 / / /
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                    1                                     SECOND CAUSE OF ACTION
                    2                                  Common Law Trademark Infringement
                    3               40.       Lost hereby incorporates by this reference each and every allegation set
                    4 forth in Paragraphs 1 through 39 of this Complaint, above as though fully set forth
                    5 herein.
                    6               41.       Lady Gaga is and has been using the Mark in commerce in connection
                    7 with the sale of merchandise associated with her album, tour, and clothing in
                    8 advertising and promotion to the public.
                    9               42.       Lady Gaga never sought nor received Lost’s authorization to use its
                 10 Mark in connection with the sale of merchandise associated with her album, tour, and
                 11 clothing.
                 12                 43.       Lady Gaga’s use of the Mark is confusingly similar to Lost’s Mark and
                 13 is likely to cause and/or has actually caused confusion in the marketplace by creating
                 14 false and mistaken impression that Lady Gaga’s album, tour, and clothing are
                 15 affiliated, connected or associated with Lost, or that they originate with, or are
                 16 sponsored or approved by Lost.
                 17                 44.       Lady Gaga’s purpose in using the Mark was and is to deceive, mislead
                 18 and confuse customers and the public into believing that Lady Gaga’s merchandise,
                 19 album or tour are affiliated, connected or associated with Lost, or that they originate
                 20 with, or are sponsored or approved by Lost.
                 21                 45.       Lady Gaga’s use of the confusingly similar Mark violates the common
                 22 law of the State of California.
                 23                 46.       Lady Gaga’s use of the Mark has caused and, if not enjoined, will
                 24 continue to cause, irreparable and continuing harm to Lost in the diminution of their
                 25 value and goodwill as trademarks, and in their impairment to serve as a trademarks,
                 26 for which Lost has no adequate legal remedy. Accordingly, Lost is entitled to
                 27 / / /
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                    1 provisional, preliminary and permanent injunctive relief to compel cessation of all
                    2 infringing and otherwise harmful conduct.
                    3               47.       As a direct and proximate result of Lady Gaga’s wrongful conduct, Lost
                    4 has been and will continue to be damaged by, without limitation, loss of profit, and
                    5 diminution in the value of the Mark and in its reputation and goodwill, in an amount
                    6 to be proven at trial.
                    7                                       THIRD CAUSE OF ACTION
                    8                           False Designation of Origin Under 15 U.S.C § 1125(a)
                    9               48.       Lost hereby incorporates by this reference each and every allegation set
                 10 forth in Paragraphs 1 through 47 of this Complaint, above as though fully set forth
                 11 herein.
                 12                 49.       Lady Gaga has engaged in the use of the Mark so similar to that of
                 13 Lost’s on her album, tour, and clothing as to be likely to cause confusion, to cause
                 14 mistake, or to deceive.
                 15                 50.       Lost’s Mark is valid and legally protectable.
                 16                 51.       Lost, and no other person or organization, owns the Mark.
                 17                 52.       Lost was the first to adopt the Mark and use it in commerce with respect
                 18 to International Class 25.
                 19                 53.       Lost has used the Mark continuously in commerce since its adoption in
                 20 1988.
                 21                 54.       The Mark is inherently distinctive, in that is an arbitrary mark whose
                 22 words bear no relation to the product of service that Lost offers in connection with
                 23 the Mark’s use in commerce.
                 24                 55.       The consuming public interprets the Mark to be (a) an identification of
                 25 the products that Lost offers in connection with the Mark’s use in commerce and (b)
                 26 a representation of the origin of those products or services.
                 27 / / /
                 28
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                    1               56.       Lost is engaged in extensive advertising that links the Mark and Lost,
                    2 the provider of the goods advertised under the Mark.
                    3               57.       Specifically, “Mayhem” and its related trade dress have been advertised
                    4 to the public as a clothing and accessory logo by Lost.
                    5               58.       Lady Gaga’s use of “Mayhem” and/or the infringing and identical mark
                    6 used on her merchandise and album/tour advertisement is likely to create confusion
                    7 concerning the origin of the goods that Lost provides under the Mark.
                    8               59.       Consumers viewing or becoming aware of the Mark will likely assume
                    9 that the products that it represents is associated with the source of a difference
                 10 product identified by a similar mark, namely, Lost’s Mark “Mayhem.”
                 11                 60.       Lost’s Mark is a strong mark, as the consuming public recognizes is and
                 12 associates it with the products provided by Lost under the Mark.
                 13                 61.       Lady Gaga intends to use, or has already used, the Mark in connection
                 14 with the same, related, or complementary goods and products as the products
                 15 provided by Lost under the Mark.
                 16                 62.       Lost’s Mark and the Mark as used by Lady Gaga are exactly similar in
                 17 appearance, sounds and meaning and the overall impression created in the
                 18 marketplace by the two marks are similar or identical.
                 19                 63.       Use of the Mark by Lady Gaga has led to instances of actual confusion
                 20 in the marketplace among or by members of the consuming public.
                 21                 64.       Lady Gaga, in badly appropriating the name and identifiable script/logo
                 22 “Mayhem” to identify similar products, even though Lady Gaga is well aware Lost
                 23 owns the Mark, knowingly intends to derive benefit from the reputation of Lost’s
                 24 Mark and further knowingly intend to cause of a likelihood of confusion.
                 25                 65.       Lost’s and Lady Gaga’s products have been and are likely to be
                 26 marketed in the same or similar stores, channels, or outlets, and advertised in similar
                 27 media.
                 28
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                    1               66.       Lost’s consumers and consumers, as members of the general public who
                    2 respond to advertising materials, are not likely to have sufficient means to discern
                    3 difference between Lost’s Mark and the Mark as used by Lady Gaga.
                    4               67.       Lady Gaga has infringed upon Lost’s Mark using the Internet by using
                    5 similar or identical marks, the products offered under the competing marks are
                    6 strongly related and/or functionally identical, and Lost and Lady Gaga are engaged in
                    7 the simultaneous use of the Internet as a marketing channel to promote their marks.
                    8               68.       There is substantial likelihood of confusion between Lost’s Mark and
                    9 the Mark as used by Lady Gaga.
                 10                 69.       Lady Gaga’s conduct constitutes willful trademark infringement and
                 11 unfair competition under Section 43(a) of the Lanham Act, U.S.C. § 1125(a).
                 12                 70.       Lost has suffered actual damages as a result of Lady Gaga’s willful
                 13 trademark infringement and unfair competition in an amount to be proven at trial.
                 14 Additionally, the harm to Lost arising out of Lady Gaga’s acts is not fully
                 15 compensable by money damages and Lost has suffered, and continues to suffer,
                 16 irreparable harm that has no adequate remedy at law and that will continue unless
                 17 Lady Gaga’s conduct is restrained and permanently enjoined.
                 18                 71.       Lady Gaga’s conduct as described above was willful and intentional.
                 19 As a result, Lost is further entitled to enhanced damages and an award of costs and
                 20 attorney fees under Section 35(a) of the Lanham Act, 15 U.S.C. § 1117(a). In
                 21 addition, Lost is entitled to recover Lady Gaga’s profits and reasonable royalties as
                 22 damages.
                 23                                         FOURTH CAUSE OF ACTION
                 24                                    False Advertising Under 15 U.S.C. § 1125(a)
                 25                 72.       Lost hereby incorporates by this reference each and every allegation set
                 26 forth in Paragraphs 1 through 71 of this Complaint, above as though fully set forth
                 27 herein.
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                    1               73.       Lady Gaga has used the Mark in the commercial advertising or
                    2 promotion of her album, tour, and clothing, including but not limited to their
                    3 advertising and promotions online and on social media, such as Facebook, X, and
                    4 Instagram. Said use is a false statement of fact as to the nature, characteristic, and
                    5 qualities of Lady Gaga’s album, tour, and clothing and related services in that it
                    6 conveys the false message to consumers that the album, tour, and clothing and
                    7 related services are operated by, affiliated with, or associated with, or sponsored by
                    8 Lost.
                    9               74.       Lady Gaga’s representations are commercial advertising in that they are
                 10 speech related solely to the economic interests of Lady Gaga and their audience, by
                 11 Lady Gaga who is in commercial competition with Lost within the clothing industry.
                 12                 75.       Lady Gaga’s false statements implicating Lost involvement with Lady
                 13 Gaga’s album, tour, and clothing and related services are likely to deceive and/or
                 14 have actually deceived a substantial segment of its audience.
                 15                 76.       Lady Gaga knew or should have known that her statements were false or
                 16 likely to mislead consumers. Lady Gaga’s deception is material, in that it is likely to
                 17 influence its customers’ decision to purchase Lady Gaga’s album, tour, and clothing
                 18 and related services.
                 19                 77.       Lady Gaga caused her false statements to enter interstate commerce in
                 20 various ways, including through online advertising and promotion on her social
                 21 media and, without limitation, those of their contractors, employees, or agents.
                 22                 78.       Lady Gaga directly compete with Lost in connection with the marketing
                 23 of clothing and related services.
                 24                 79.       As a direct and proximate result of Lady Gaga’s wrongful conduct, Lost
                 25 has been and will continue to be damaged by, without limitation, loss of profit, and
                 26 diminution in the value of the Mark and in its reputation and goodwill, in an amount
                 27 / / /
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                    1 to be proven at trial and is entitled to the remedies provided for in 15 U.S.C. § 1116
                    2 et seq.
                    3               80.       Lady Gaga’s wrongful use of the Mark is knowing, deliberate, willful,
                    4 fraudulent, and without extenuating circumstances. Lost is therefore entitled to
                    5 recover its damages, defendants’ profits, and Lost’s attorneys’ fees and costs of this
                    6 action pursuant to 15 U.S.C. § 1117(a).
                    7                                       FIFTH CAUSE OF ACTION
                    8            False Advertising Under California Bus. & Prof. Code § 17500 ET SEQ.
                    9               81.       Lost hereby incorporates by this reference each and every allegation set
                 10 forth in Paragraphs 1 through 80 of this Complaint, above as though fully set forth
                 11 herein.
                 12                 82.       Lady Gaga has used the Mark in the commercial advertising or
                 13 promotion of her album, tour and sale of merchandise associated with the same,
                 14 including but not limited to her advertising and promotions online and on social
                 15 media, such as Facebook, X, and Instagram.
                 16                 83.       Said use is an untrue and/or misleading statement of fact as to the
                 17 nature, characteristic, and qualities of Lady Gaga’s use of the Mark in that it conveys
                 18 the false message to consumers that her merchandise, album and tour are operated
                 19 by, affiliated with, or associated with, or sponsored by Lost.
                 20                 84.       Lady Gaga knows that she does not own the Mark and the Stylized
                 21 Mark. Not only has Lady Gaga not been assigned or authorized to use such
                 22 trademarks, but Lost has notified her that her use is improper.
                 23                 85.       The acts of untrue and misleading advertising by Lady Gaga described
                 24 herein present a continuing threat to members of the public by creating the false and
                 25 mistaken impression that Lady Gaga’s merchandise, album and tour, are affiliated,
                 26 connected or associated with Lost, or that they originate with, or are sponsored or
                 27 / / /
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                    1 approved by Lost for which members of the public have no other adequate remedy of
                    2 law.
                    3               86.       As a direct and proximate result of Lady Gaga’s false advertising, Lost
                    4 has been and will continue to be damaged by, without limitation, loss of profit, and
                    5 diminution in the value of the Mark and in its reputation and goodwill, in an amount
                    6 to be proven at trial. If not enjoined, Lady Gaga’s false advertising will continue to
                    7 cause irreparable and continuing harm to Lost, for which it has no adequate legal
                    8 remedy.
                    9                                          SIXTH CAUSE OF ACTION
                 10                                    Trademark Dilution Under 15 U.S.C. § 1125(c)
                 11                 87.       Lost hereby incorporates by this reference each and every allegation set
                 12 forth in Paragraphs 1 through 86 of this Complaint, above as though fully set forth
                 13 herein.
                 14                 88.       The Mark is famous and distinctive in that it is widely recognized by the
                 15 public as a designation by Lost as to the source of the goods or services recognized
                 16 by the Mark.
                 17                 89.       Lady Gaga’s use of the Mark, and designations in connection with her
                 18 album, tour, and clothing and in the advertising and promotion to the public of the
                 19 same impairs the distinctiveness of the famous Mark and, as such, causes dilution
                 20 and blurring.
                 21                 90.       Lady Gaga’s use of the Mark has caused and, if not enjoined, will
                 22 continue to cause, irreparable and continuing harm to Lost in the diminution of its
                 23 value and goodwill as a trademark, and in their impairment to serve as a trademark,
                 24 for which Lost has no adequate legal remedy. Accordingly, Lost is entitled to
                 25 provisional, preliminary and permanent injunctive relief to compel cessation of all
                 26 infringing and otherwise harmful conduct.
                 27 / / /
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                    1               91.       Lady Gaga’s wrongful use of the Mark is knowing, deliberate, willful,
                    2 fraudulent, and without extenuating circumstances. Lost is therefore entitled to
                    3 recover its damages, Lady Gaga’s profits, and Lost’s attorneys’ fees and costs of this
                    4 action pursuant to 15 U.S.C. § 1117(a).
                    5                                     SEVENTH CAUSE OF ACTION
                    6                      Trademark Dilution Under Cal. Bus. & Prof. Code § 14247
                    7               92.       Lost hereby incorporates by this reference each and every allegation set
                    8 forth in Paragraphs 1 through 91 of this Complaint, above as though fully set forth
                    9 herein.
                 10                 93.       The Mark is famous and distinctive in that it is widely recognized by the
                 11 public of this state as a designation of Lost as the source of the goods or services
                 12 represented by the Mark.
                 13                 94.       Lady Gaga began using the Mark without authorization from Lost after
                 14 the Mark had become famous.
                 15                 95.       Lady Gaga’s use of the Mark, and designations in connection with her
                 16 album, tour, and clothing, and in the advertising and promotion to the public of the
                 17 same impairs the distinctiveness of the famous Mark and, as such, causes dilution
                 18 and blurring.
                 19                 96.       Lady Gaga’s unauthorized use of the Mark has caused, and if not
                 20 enjoined, will continue to cause irreparable and continuing harm to Lost, for which it
                 21 has no adequate legal remedy.
                 22                 97.       Lady Gaga’s dilution of the Mark was willful, as evidenced by her
                 23 continuing use of the Mark after being advised of Lost’s exclusive trademark rights,
                 24 entitling Lost to an award of up to three time Lady Gaga’s profits from, and up to
                 25 three times all damages suffered by reason of Lady Gaga’s wrongful use of the Mark,
                 26 pursuant to Section 14250 of the California Business and Professions Code.
                 27 / / /
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                    1                                      EIGHTH CAUSE OF ACTION
                    2             Unfair Business Practices Under California Bus. & Prof. Code § 17200
                    3               98.       Lost hereby incorporates by this reference each and every allegation set
                    4 forth in Paragraphs 1 through 97 of this Complaint, above as though fully set forth
                    5 herein.
                    6               99.       Lady Gaga’s conduct as alleged herein constitutes unlawful, unfair, or
                    7 fraudulent business acts or practices within the meaning of California Business and
                    8 Professions Code Section 17200.
                    9               100. Lady Gaga’s wrongful conduct has caused and, if not enjoined, will
                 10 continue to cause, irreparable and continuing harm to Lost for which Lost has no
                 11 adequate legal remedy.
                 12                                         NINTH CAUSE OF ACTION
                 13                                      Common Law Unfair Competition
                 14                 101. Lost hereby incorporates by this reference each and every allegation set
                 15 forth in Paragraphs 1 through 100 of this Complaint, above as though fully set forth
                 16 herein.
                 17                 102. Lady Gaga’s use of the Mark and designations are identical in meaning
                 18 to the Mark as used by Lost, and has the effect of passing off Lady Gaga’s album,
                 19 tour, and clothing, and related services as being produced or authorized by Lost.
                 20                 103. Lady Gaga’s misconduct constitutes unfair competition in that it offends
                 21 established public policy and is immoral, unethical, oppressive, unscrupulous, and
                 22 injurious to consumers.
                 23                 104. As a direct and proximate result of Lady Gaga’s wrongful conduct, Lost
                 24 has been and will continue to be damaged by, without limitation, loss of profit, and
                 25 diminution in the value of the Mark and in its reputation and goodwill, in an amount
                 26 to be proven at trial.
                 27 / / /
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BREMER WHYTE BROWN &                                                      18
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                    1               105. The acts of unfair competition alleged herein are committed with
                    2 oppression, fraud, and malice. Specifically, Lady Gaga used the Mark with
                    3 knowledge that Lost owns the exclusive right to such use. Lady Gaga’s continuing
                    4 use of the Mark was unauthorized and caused consumer confusion, resulting in
                    5 continuing injury to Lost.
                    6               106. Lost requests the imposition of exemplary damages pursuant to
                    7 California Civil Code § 3294.
                    8                                      PRAYER FOR RELIEF
                    9               WHEREFORE, Lost asks the Court for the judgment and relief for Lost and
                 10 against defendants, and each of them, as follows:
                 11                 107. That Lady Gaga infringed Lost’s rights in violation of 15 U.S.C. §
                 12 1125(a);
                 13                 108. That Lady Gaga infringed Lost’s rights in violation of the common law
                 14 of the State of California;
                 15                 109. That Lady Gaga’s conduct violates California Business and Professions
                 16 Code Section 17500 et seq.;
                 17                 110. That Lady Gaga’s conduct violates California Business and Professions
                 18 Code Section 17200, et seq.;
                 19                 111. For an award of such damages as Lost has sustained in an amount
                 20 proven at trial, no less than $100,000,000;
                 21                 112. For an accounting of Lady Gaga’s proceeds as a result of her
                 22 infringement of the Mark;
                 23                 113. For disgorgement of Lady Gaga’s profits;
                 24                 114. For punitive or exemplary damages;
                 25                 115. For interest, including prejudgment and post-judgment interest, on the
                 26 foregoing sums;
                 27                 116. For costs of the action incurred herein;
                 28
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                    1               117. For attorneys’ fees;
                    2               118. For a judicial declaration that Lost has rights in the Mark and any other
                    3 colorable imitations thereof in connection with clothing sold in commerce;
                    4               119. For an injunction temporarily, preliminarily and permanently enjoining
                    5 the defendants, their employees, agents, officers, directors, attorneys, successors,
                    6 affiliates, subsidiaries, and assigns, and all of those in active concert and
                    7 participation with any of the foregoing persons and entities who receive actual notice
                    8 of the Court’s order by personal service or otherwise from:
                    9                         a.       selling, marketing, advertising, promoting, or authorizing any
                 10 third party to sell, market, advertise or promote any goods and/or services bearing the
                 11 Mark or any other mark that is a counterfeit, copy, simulation, confusingly similar
                 12 variation, or colorable imitation of Lost’s marks;
                 13                           b.       engaging in any activity that infringes Lost’s rights in its marks;
                 14                           c.       engaging in any activity constituting unfair competition with
                 15 Lost;
                 16                           d.       engaging in any activity that is likely to dilute the distinctiveness
                 17 of Lost’s marks;
                 18                           e.       making or displaying any statement, representation, or depiction
                 19 that is likely to lead the public or the trade to believe that (i) Lady Gaga’s goods
                 20 and/or services are in any manner approved, endorsed, licensed, sponsored,
                 21 authorized, or franchised by or associated, affiliated, or otherwise connected with
                 22 Lost or (ii) Lost’s goods and/or services are in any manner approved, endorsed,
                 23 licensed, sponsored, authorized, or franchised by or associated, affiliated, or
                 24 otherwise connected with defendants;
                 25                           f.       using or authorizing any third party to use in connection with any
                 26 business, goods or services any false description, false representation, or false
                 27 / / /
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                    1                         g.       designation of origin, or any marks, names, words, symbols,
                    2 devices, or trade dress that falsely associate such business, goods and/or services
                    3 with Lost or tend to do so;
                    4                         h.       registering or applying to register any trademark, service mark,
                    5 domain name, trade name, or other source identifier or symbol of origin consisting of
                    6 or incorporating the Mark or any other mark that infringes or is likely to be confused
                    7 with Lost’s marks, or any goods or services of Lost, or Lost as their source; and
                    8                         i.       aiding, assisting, or abetting any other individual or entity in
                    9 doing any act prohibited by sub-paragraphs (a) through (g).
                 10                 120. Directing, pursuant to Section 37 of the Lanham Act (15 U.S.C. §
                 11 1119), the cancellation of any and all federal registrations for the Mark or any mark
                 12 consisting of, incorporating, or containing Lost’s marks or any counterfeit, copy,
                 13 confusingly similar variation, or colorable imitation thereof owned or controlled by
                 14 defendants.
                 15                 121. Directing, pursuant to Section 35(a) of the Lanham Act (15 U.S.C. §
                 16 1116(a)), defendants file with the Court and serve upon Lost’s counsel within thirty
                 17 (30) days after service on defendant of an injunction in this action, or such extended
                 18 period as the court may direct, a report in writing under oath, setting forth in detail
                 19 the manner and form in which defendant has complied therewith;
                 20                 122. For such additional and further relief as this court deems just and
                 21 proper.
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BREMER WHYTE BROWN &                                                          21
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                    1                                  DEMAND FOR JURY TRIAL
                    2               123. Pursuant to Fed. R. Civ. Proc. 38, Lost demands a trial by jury on all
                    3 claims and issues triable to a jury in this action.
                    4 Dated: March 25, 2025
                                                                    BREMER WHYTE BROWN & O’MEARA
                    5                                               LLP
                    6
                    7                                               By:
                                                                          Keith G. Bremer
                    8                                                     Benjamin Price
                                                                          Olivia Zorayan
                    9                                                     Attorneys for Plaintiff
                                                                          LOST INTERNATIONAL, LLC, a
                 10                                                       California limited liability company
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              EXHIBIT “A”




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